                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 7
From: info@cstrial.com <info@cstrial.com>
Sent: Saturday, September 9, 2023 1:17 PM
To: ScoG Beam
Subject: Website inquiry

Form submission from Cain & Skarnulis | AusXn, Texas

CONTACT
 First Name
 Fuck

 Last Name
 You

 Email Address
 FuckYou@gmail.com

 Phone Number

 Message
 You are all pieces of shit
